Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 1 of 17 PageID 82




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

                    Case No.: 6:22-cv-02210-PGB-EJK


CHRISTIAN S. KENNEDY,
individually, and on behalf of all others
similarly situated,

           Plaintiff,

v.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC and
INPATIENT CONSULTANTS OF
FLORIDA, INC.,

         Defendants.
_____________________________________/

  DEFENDANT, INPATIENT CONSULTANTS OF FLORIDA, INC.’S
 ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S CLASS
                  ACTION COMPLAINT

      COMES NOW, Defendant, Inpatient Consultants of Florida, Inc.

(“Defendant” or “ICF”), by and through its undersigned counsel, hereby files

its Answer and Affirmative Defenses to Plaintiff’s Class Action Complaint, [DE

1], and states the following:

                         NATURE OF THE ACTION

      1.    Admitted to the extent of subjection matter, personal and federal

question jurisdiction, venue and claims identification under the provisions of
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 2 of 17 PageID 83




the Telephone Consumer Protection Act (“TCPA”),            Fair Debt Collection

Practices Act (“FDCPA”), and Florida’s Consumer Collection Practices Act

(“FCCPA”). Otherwise denied; ICF demands strict proof thereof.

      2.    Admitted to the extent that the provisions of the TCPA, mainly

Section 227(b)(1)(A)(iii), are self-evident in its entirety and, thus, denied as to

any aspects or interpretations other than the plain full reading of

correspondence; otherwise denied.

      3.    Admitted as the statement contained as cited. Otherwise denied

as substantive evidence or data, Defendant demands strict proof thereof.

                       JURISDICTION AND VENUE

      4.    Admitted for purposes of federal question jurisdiction; otherwise

denied.

      5.    Admitted for purposes of supplemental jurisdiction; otherwise

denied.

      6.    Admitted for purposes of venue only; otherwise denied.

                                   PARTIES

      7.    Admitted for purpose of jurisdiction and venue only; otherwise

denied.

      8.    Admitted for purpose of jurisdiction and venue only; otherwise

denied.



                                        2
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 3 of 17 PageID 84




     9.    Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     10.   Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     11.   Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     12.   Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     13.   Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     14.   Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     15.   Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     16.   Admitted for purpose of jurisdiction and venue only; otherwise

denied.

     17.   Denied. Defendant demands strict proof thereof.

                       FACTUAL ALLEGATIONS

     18.   Defendant lacks sufficient knowledge at this time as to the factual

allegations asserted in this paragraph to either admit or deny the statement

at this time without conducting adequate discovery. Therefore, the statement

                                     3
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 4 of 17 PageID 85




is denied at this time until sufficient discovery has been taken or disclosed by

Plaintiff to admit or deny this statement correctly.

      19.   Defendant lacks sufficient knowledge at this time as to the factual

allegations asserted in this paragraph to either admit or deny the statement

at this time without conducting adequate discovery. Therefore, the statement

is denied at this time until sufficient discovery has been taken or disclosed by

Plaintiff to admit or deny this statement correctly.

      20.   Defendant lacks sufficient knowledge at this time as to the factual

allegations asserted in this paragraph to either admit or deny the statement

at this time without conducting adequate discovery. Therefore, the statement

is denied at this time until sufficient discovery has been taken or disclosed by

Plaintiff to admit or deny this statement correctly.

      21.   Defendant lacks sufficient knowledge at this time as to the factual

allegations asserted in this paragraph to either admit or deny the statement

at this time without conducting adequate discovery. Therefore, the statement

is denied at this time until sufficient discovery has been taken or disclosed by

Plaintiff to admit or deny this statement correctly.

      22.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or



                                       4
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 5 of 17 PageID 86




vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      23.   Admitted to the extent that Defendant ICF retained Defendant

HRRG to request payment of a past due medical debt obligation claimed due

to the original creditor. Otherwise, denied.

      24.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      25.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      26.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.



                                       5
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 6 of 17 PageID 87




      27.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      28.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      29.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      30.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.



                                       6
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 7 of 17 PageID 88




      31.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      32.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      33.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      34.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      35.   Denied. Defendant demands strict proof thereof.

                                       7
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 8 of 17 PageID 89




                                  DAMAGES

     36.   Denied. Defendant demands strict proof thereof.

     37.   Denied. Defendant demands strict proof thereof.

     38.   Denied. Defendant demands strict proof thereof.

                         CLASS ALLEGATIONS

     39.   Defendant re-asserts and incorporates its responses to the

allegations in paragraphs 1−38.

     40.   Denied; Defendant demands strict proof thereof.

     41.   Denied; Defendant demands strict proof thereof.

     42.   Denied; Defendant demands strict proof thereof.

     43.   Denied; Defendant demands strict proof thereof.

     44.   Denied; Defendant demands strict proof thereof.

     45.   Denied; Defendant demands strict proof thereof.

     46.   Denied; Defendant demands strict proof thereof.

     47.   Denied; Defendant demands strict proof thereof.

     48.   Denied; Defendant demands strict proof thereof.

     49.   Denied; Defendant demands strict proof thereof.

     50.   Denied; Defendant demands strict proof thereof.

     51.   Denied; Defendant demands strict proof thereof.

     52.   Denied; Defendant demands strict proof thereof.

     53.   Denied; Defendant demands strict proof thereof.

                                     8
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 9 of 17 PageID 90




      54.   Denied; Defendant demands strict proof thereof.

      55.   Denied; Defendant demands strict proof thereof.

                                Count I: TCPA:

                         47 U.S.C. § 227(b)(1)(A)(iii)

      56.   Defendant re-asserts and incorporates its responses to the

allegations in paragraphs 1−55.

      57.   Admitted to the extent that the provisions of the TCPA, mainly

Section 227(b)(1)(A)(iii), are self-evident in its entirety and, thus, denied as to

any aspects or interpretations other than the plain full reading of

correspondence; otherwise denied.

      58.   Denied; Defendant demands strict proof thereof.

      59.   Denied; Defendant demands strict proof thereof.

      60.   Denied; Defendant demands strict proof thereof.

      61.   Denied; Defendant demands strict proof thereof.

      62.   Denied; Defendant demands strict proof thereof.

      63.   Denied; Defendant demands strict proof thereof.

                               Count II: FDCPA

                  15 U.S.C. § 1692c, 1692d and § 1692d(5)

      64.   Defendant re-asserts and incorporates its responses to the

allegations in paragraphs 1−63.



                                        9
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 10 of 17 PageID 91




      65.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      66.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      67.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      68.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.



                                      10
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 11 of 17 PageID 92




      69.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      70.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      71.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      72.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.



                                      11
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 12 of 17 PageID 93




      73.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      74.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      75.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.

      76.   The allegations in this paragraph are asserted solely against a

Defendant other than Defendant ICF; therefore, no response is necessary.

However, to the extent that the allegations are asserted directly, indirectly or

vicariously against Defendant ICF, the allegations are denied. Defendant ICF

demands strict proof thereof.



                                      12
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 13 of 17 PageID 94




                             Count III: FCCPA

                        Section 559.72(7) Fla. Stat.

      77.   Defendant re-asserts and incorporates its responses to the

allegations in paragraphs 1−76.

      78.   Admitted to the extent that the provisions of the FCCPA,

particularly Section 559.72(7) Fla. Stat. are self-evident in its entirety and,

thus, denied as to any aspects or interpretations other than the plain full

reading of correspondence; Defendant denies that any action or inaction of the

Defendant violated the FCCPA; otherwise denied.

      79.   Denied; Defendant demands strict proof thereof.

      80.   Denied; Defendant demands strict proof thereof.

      81.   Denied; Defendant demands strict proof thereof.

      82.   Denied; Defendant demands strict proof thereof.

                              JURY DEMAND

      Defendant demands trial by jury for any remaining issue following the

determination of any dispositive motions.

                       AFFIRMATIVE DEFENSES

First Affirmative Defense

      Defendant affirmatively alleges that Defendant is not vicariously liable

for the alleged actions or inactions of other third parties and/or any of their

employees, agents, or principals.

                                      13
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 14 of 17 PageID 95




Second Affirmative Defense

      Defendant affirmatively alleges that to the extent that any allegations

relate to the TCPA, Defendant cannot be vicariously liable for the actions of

any other party.

Third Affirmative Defense

      Defendant affirmatively alleges that the alleged actions of Defendant

and its agents and employees are protected by the “bona fide error” defense

according to Florida’s Consumer Collection Practices Act since such actions or

inactions, if they occurred, were not intentional and resulted from a bona fide

error notwithstanding the Defendant’s maintenance of procedures reasonably

adapted to avoid such error.

Fourth Affirmative Defense

      Defendant affirmatively alleges that ICF had prior express consent to

contact Plaintiff and any other claimed individual as defined in the purported

TCPA class.

Fifth Affirmative Defense

      Plaintiff is not entitled to recover any damages, or any recovery awarded

should be reduced by the amount of damages which reasonably could have been

avoided because Plaintiff failed to take reasonable steps to mitigate her

damages concerning the matters alleged in the Complaint.



                                      14
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 15 of 17 PageID 96




Sixth Affirmative Defense

      Even assuming arguendo that ICF violated the TCPA, as alleged in the

Complaint, which presupposition ICF denies, such violation was not

intentional.

Seventh Affirmative Defense

      Defendant affirmatively alleges that to the extent that any allegations

exceed four (4) years from the date of filing the Complaint, such claims or

allegations are barred by the statute of limitations under the Telephone

Consumer Protection Act (“TCPA”).

Eighth Affirmative Defense

      Defendant affirmatively alleges that the telephone equipment utilized

by Defendant is not an “Automatic Telephone Dialing System” as defined by

the TCPA under the holding of Glasser v. Hilton Grand Vacation Co., LLC, 948

F. 3d 1301, 1312−1313 (11th Cir. 2020).

Ninth Affirmative Defense

      Defendant affirmatively alleges that to the extent that any allegations

exceed two (2) years from the date of filing of the Complaint, such claims or

allegations are barred by the statute of limitations under Florida’s Consumer

Collection Practices Act (“FCCPA”).




                                      15
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 16 of 17 PageID 97




Tenth Affirmative Defense

      Defendant affirmatively alleges that Defendant lacks the requisite

intent under Section 559.72(7) Fla. Stat.

      WHEREFORE,        Defendant,     INPATIENT       CONSULTANTS         OF

FLORIDA, INC., requests that this Court dismiss Plaintiff’s Complaint and

that ICF be awarded reasonable attorneys’ fees and costs as provided under

applicable law.


      Dated this 28th day of December 2022.



                                     Respectfully submitted,


                                     /s/ Ernest H. Kohlmyer, III
                                     Ernest H. Kohlmyer, III
                                     SKohlmyer@Shepardfirm.com
                                     service@shepardfirm.com
                                     Florida Bar No.: 0101108
                                     2300 Maitland Center Parkway, Suite
                                     100
                                     Maitland, Florida 33751
                                     Telephone: (407) 622-1772
                                     Facsimile (407) 622-1884
                                     Attorneys for Defendant, ICF




                                      16
Case 6:22-cv-02210-PGB-EJK Document 15 Filed 12/28/22 Page 17 of 17 PageID 98




                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing was electronically filed

on December 28, 2022, with the Clerk of the Court using the electronic filing

system. I further certify that the foregoing has been sent via electronic

transmission to the following: Alexander J. Taylor, Esquire of Sulaiman Law

Group, LTD, at ataylor@sulaimanlaw.com (Attorneys for Plaintiff).


                             /s/_Ernest H. Kohlmyer, III
                             Ernest H. Kohlmyer, III
                             SKohlmyer@Shepardfirm.com
                             service@shepardfirm.com
                             Florida Bar No.: 0101108
                             2300 Maitland Center Parkway, Suite 100
                             Maitland, Florida 33751
                             Telephone: (407) 622-1772
                             Facsimile (407) 622-1884
                             Attorneys for Defendant, ICF




                                     17
